
PER CURIAM.
The defendant, Antonio Fountain, appeals his convictions for second degree murder with a firearm and unlawful possession of a firearm while engaged in a criminal offense. The sole issue the defendant raises on appeal is that he was denied effective assistance of trial counsel. As the claimed ineffectiveness is not apparent on the face of the record, we affirm without prejudice to the defendant to file a timely postconviction motion pursuant to *737Florida Rule of Criminal Procedure 3.850. See Kidd v. State, 978 So.2d 868, 869-69 (Fla. 4th DCA 2008); Desire v. State, 928 So.2d 1256,1257 (Fla. 3d DCA 2006).
Affirmed.
